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 2
 3                        IN THE UNITED STATES DISTRICT COURT
 4                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 5
     UNITED STATES OF AMERICA,                 )
 6                                             )    2:09-cr-00170-GEB
                       Plaintiff,              )
 7                                             )
                 v.                            )    ORDER UNSEALING ADDITIONAL
 8                                             )    PORTION OF TRANSCRIPT OF THE
     ROBERT L. CARR, THERESA ANN               )    MAY 18, 2012 IN CAMERA
 9   CARR,                                     )    HEARING
                                               )
10                 Defendants.                 )
     ________________________________          )
11
12                The February 22, 2013 Order to Show Cause (“OSC”), which

13   directed Defendant Robert L. Carr to show cause why certain portions of

14   the sealed transcript of the in camera proceeding held on May 18, 2012

15   (“transcript”), should not be placed on the public docket inadvertently

16   omitted reference to the Court’s statements on page 7, lines 9 to and

17   including 11. These lines of the transcript comprise a part of the

18   Court’s broader statements on page 7, which have been unsealed. Further,

19   the reasoning set forth in the March 6, 2013 Order to support unsealing

20   portions of the transcript equally supports unsealing these additional

21   lines of the transcript.

22                Therefore, page 7, lines 9 to and including 11 are unsealed,

23   and a revised, redacted version of page 7 of the transcript from the May

24   18, 2012 in camera proceeding is filed.

25   Dated:    March 7, 2013
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27                                       GARLAND E. BURRELL, JR.
                                         Senior United States District Judge
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